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       Attorney for Defendant




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

 UNITED STATES OF AMERICA,                      Case No. CR-18-155-BLG-DLC

                Plaintiff,

 vs.                                            NOTICE TO WITHDRAW
                                             CONSENT TO RULE 11 PLEA IN
 JAMES ERIC “DOC” JENSEN, JR.,               A FELONY CASE MAGISTRATE
                                                       JUDGE
               Defendant.




       COMES NOW, Defendant JAMES ERIC “DOC” JENSEN, JR., by and through

his Counsel of record, Steven C. Babcock, Assistant Federal Defender, and the Federal

Defenders of Montana, hereby provides notice to withdraw the consent to proceed with

the change of plea with the Magistrate Judge.

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       On February 7, 2019, Jensen informed the Court that he wished to plead guilty

to the Indictment without the benefit of a plea agreement. Doc. 17. Chief Judge

Christensen referred the change of plea to the Magistrate Judge and Jensen’s change

of plea was scheduled for February 12, 2019. At the change of plea hearing, Jensen

consented to have the Magistrate Court conduct the anticipated plea of guilty. Doc. 22.

The change of plea did not go through. After a continuance, the change of plea is

currently scheduled for March 4, 2019.

       The undersigned has consulted with Jensen on numerous occasions since

February 12, 2019. Jensen still plans on entering a knowingly and voluntarily plea of

guilty to the Indictment; however, he is now exercising his right to enter a change of

plea before a United States District Court Judge. He withdraws his consent to proceed

before a United States Magistrate Judge. Knowing all of the facts of the case and after

throughly discussing his options with the undersigned, Jensen is of the belief that

changing his plea to guilty at the current time is in his best interest.

       The respective parties are willing to travel to Missoula or Butte to proceed

before Chief Judge Christensen. The undersigned will be out of the office on March

7-8, 2019. It is respectfully requested that the change of plea be scheduled in the near

future if possible.



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      Zeno B. Baucus and Bryan T. Dake, Assistant United States Attorneys, have

been consulted regarding said Notice and have no objection.

      RESPECTFULLY SUBMITTED this 28th day of February, 2019.


                                      /s/ Steven C. Babcock
                                      STEVEN C. BABCOCK
                                      Federal Defenders of Montana
                                             Counsel for Defendant




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                               CERTIFICATE OF SERVICE
                                      L.R. 5.2(b)

      I hereby certify that on February 28, 2019, a copy of the foregoing document
was served on the following persons by the following means:

     1, 2         CM-ECF
                  Hand Delivery
     3            Mail
                  Overnight Delivery Service
                  Fax
                  E-Mail

1.          CLERK, UNITED STATES DISTRICT COURT

2.          ZENO B. BAUCUS
            BRYAN T. DAKE
            Assistant United States Attorneys
            United States Attorney’s Office
            2601 2nd Avenue North, Suite 3200
            Billings, MT 59101
                   Counsel for the United States

3.          JAMES ERIC “DOC” JENSEN
                Defendant

                                            /s/ Steven C. Babcock
                                            STEVEN C. BABCOCK
                                            Federal Defenders of Montana
                                                   Counsel for Defendant




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